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                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

BAOWEI XIA,                          )
                                     )
      Appellant,                     )
                                     )
v.                                   ) Case No.: 1:24-cv-911-AMM
                                     )
CRISTINA L. MORRIS,                  )
                                     )
      Appellee.                      )
                                     )

                                  ORDER

     This case is before the court on appellant Baowei Xia’s Motion Top Request

Accepting Documents Under Seal. Doc. 8. That motion is GRANTED.

     DONE and ORDERED this 29th day of August, 2024.



                                 _________________________________
                                 ANNA M. MANASCO
                                 UNITED STATES DISTRICT JUDGE
